Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 1 of 21




EXHIBIT “A”
               Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 2 of 21
                                                                        State Court of Fulton County
GEORGIA, FULTON COUNTY                                 DO NOT WRITE IN THIS SPACE      ***EFILED***
                                                                                   File & ServeXpress
STATE COURT OF FULTON COUNTY              CIVIL ACTION FILE #: ___________________________
                                                                                  Transaction ID: 66500192
                 Civil Division                                                                                                 Date: Apr 09 2021 01:17PM
                                                                                                                           Christopher G. Scott, Chief Clerk
                                                                                                                                              Civil Division

                                                                            TYPE OF SUIT                               AMOUNT OF SUIT
_____________________________________
Bonita Rachell
                                                                              [ ] ACCOUNT                   PRINCIPAL $_____________
_____________________________________
2535 Crestdale Circle SE                                                      [ ] CONTRACT
                                                                              [ ] NOTE                      INTEREST $______________
_____________________________________
     Atlanta       GA     30316
                                                                              [ ] TORT
Plaintiff’s Name, Address, City, State, Zip Code                              [ ] PERSONAL INJURY          ATTY. FEES $_____________
                                                                              [ ] FOREIGN JUDGMENT
                         vs.                                                  [ ] TROVER                   COURT COST $ ___________
                                                                              [ ] SPECIAL LIEN
                                                                                                   ************
_____________________________________
Dollar Tree Stores Inc.                                                       [ ] NEW FILING
_____________________________________
1326 Moreland Ave                                                             [ ] RE-FILING: PREVIOUS CASE NO. ___________________

_____________________________________
       Atlanta       GA     30316
Defendant’s Name, Address, City, State, Zip Code

             SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff’s Attorney, or on Plaintiff if no Attorney, to-wit:
Name: ______________________________________________
      J. Winston Kim
         3560 Lenox Road NE, Suite 3020
Address: ____________________________________________
                       Atlanta, Georgia 30326
City, State, Zip Code: __________________________________________________                              (404) 842-0999
                                                                                             Phone No.:___________________________
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., S.W.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)



______________________________________________________________________________________________________________________


SERVICE INFORMATION:
Served, this _______ day of ____________________, 20______.                   _______________________________________________
                                                                                  DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for ______________________________________________________________________________________________
_______________________________________________________________________________________________________________
This _________ day of _______________________, 20_____.                 ______________________________________ Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
                        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 3 of 21
                                                                            State Court of Fulton County
                                                                                         ***EFILED***
                                                                                     File & ServeXpress
                                                                                                     Transaction ID: 66500192
                                     IN THE STATE COURT OF FULTON COUNTY                           Date: Apr 09 2021 01:17PM
                                               STATE OF GEORGIA                               Christopher G. Scott, Chief Clerk
                                                                                                                 Civil Division
                                                           :
             BONITA RACHELL,                               :
                                                           :
                             Plaintiff,                    :        Civil Action File No.
                                                           :
             vs.                                           :
                                                           :
             DOLLAR TREE STORES, INC.,                     :
                                                           :
                             Defendant.                    :


                                             COMPLAINT FOR DAMAGES

                    COMES NOW BONITA RACHELL, Plaintiff in the above-styled case, and files this

             action against DOLLAR TREE STORES, INC., Defendant, and for her causes of action

             respectfully shows this Honorable Court the following:

                                             JURISDICTION AND VENUE

                                                               1.

                    Plaintiff is a resident of Fulton County, State of Georgia, at all times relevant to this

             Complaint and is subject to and willfully avails herself of the jurisdiction and venue of this

             Honorable Court.

                                                               2.

                    This Court properly has jurisdiction over Defendant and the subject matter of this action.

                                                               3.

                    Defendant is a foreign, for-profit, corporation incorporated in the State of Virginia and

             authorized to transact business in the State of Georgia. At all times relevant to this Complaint,

             Defendant maintained a place of business located at 1326 Moreland Avenue, Atlanta, Georgia

             30316 and, thus, is subject to the personal jurisdiction of this Court. Further, venue properly lies

                                                         Page 1 of 7


Copy from re:SearchGA
                        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 4 of 21




             in this Court pursuant to sect. II, para. VII, of the Georgia Constitution and O.C.G.A. § 14-2-510(a)

             and (b)(3). Defendant may be served with a copy of the Summons and Complain in this matter

             through its registered agent, Corporation Service Company, 40 Technology Parkway South, #300,

             Norcross, Georgia 30092.


                                                  STATEMENT OF FACTS

                                                                4.

                     Plaintiff re-alleges and reaffirms the allegations contained in paragraphs 1 through 3 above,

             as if fully set forth herein, and states as follows:

                                                                5.

                     At all times relevant to this Complaint, Defendant operated a retail store at 1326 Moreland

             Avenue, Atlanta, Georgia 30316 (hereinafter Defendant “Store”) and offered to the general public

             retail items for sale.

                                                                6.

                     On or about August 27, 2020, Plaintiff entered Defendant’s Store as a customer to purchase

             certain items and, thus, occupied the status of a business invitee while on Defendant’s premises.

                                                                7.

                     Unbeknownst to Plaintiff, there existed a liquid that had been left on the floor in one of the

             aisles. As Plaintiff was walking in said aisle, she suddenly slipped on said liquid, causing her to

             fall and injury her person.

                                                                8.

                     The existence of liquid on the floor in Defendant’s Store created a dangerous and hazardous

             condition of which Defendant, by and through its employees, had actual or constructive




                                                           Page 2 of 7


Copy from re:SearchGA
                        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 5 of 21




             knowledge, and which could not have become known to Plaintiff in the exercise of reasonable care

             and diligence on her part.

                                                               9.

                     Defendant, by and through its employees, failed to take corrective action to either warn its

             invitees of the existence of such a condition and/or to timely remove the liquid from the floor.

                                                               10.

                     Defendant, by and through its employees, had constructive notice and knowledge of the

             presence of the dangerous and hazardous condition by virtue of attendant facts and circumstances

             which existed at the time of this occurrence complained of herein. Defendant negligently failed to

             inspect the premises and keep them safe, and negligently failed to have in place sufficient policies,

             practices and procedures, which, in the exercise of ordinary care and diligence, would have prevented

             the occurrence of which Plaintiff complains.

                                                               11.

                     Defendant was negligent by failing to train and instruct its employees in the proper

             practices and procedures for inspecting and maintaining the floors in the store where customers,

             like Plaintiff, would walk or use while shopping in order to keep the floors safe, passable and free

             of dangerous foreign substances.

                                                               12.

                     Defendant was otherwise negligent.

                                                          DAMAGES

                                                               13.

                     Plaintiff re-alleges and reaffirms the allegations contained in paragraphs 1 through 12

             above, as if fully set forth herein, and states as follows:



                                                           Page 3 of 7


Copy from re:SearchGA
                        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 6 of 21




                                                                 14.

                     As a direct and proximate result of the negligence of the Defendant, Plaintiff suffered

             serious physical pain and mental anguish and serious bodily injuries, including but not limited to:

                        1.   Traumatic arthropathy, right shoulder;
                        2.   Traumatic arthropathy, left knee;
                        3.   Impingement syndrome of right shoulder;
                        4.   Pain in right shoulder;
                        5.   Pain in left knee;
                        6.   Unspecified sprain of right shoulder joint;
                        7.   Sprain of right rotator cuff capsule;
                        8.   Contusion right elbow; and
                        9.   Other tear of lateral meniscus, left knee.

                                                                 15.

                     Plaintiff further shows that she has been required to receive medical treatment as a result

             of the injuries sustained in the collision and may be required to receive further medical attention

             and treatment in the future. Plaintiff shows that she has incurred the following medical expenses

             as a result of said collision:

                        1.   American Medical Response of Georgia             $1,971.50
                        2.   Emory Hillandale Hospital                        $2,910.70
                        3.   Barbour Orthopaedics                             $5,250.71
                        4.   Elite Radiology                                  $3,900.00

                                                                 16.

                     As a direct and proximate result of the negligence of the Defendant, Plaintiff sustained

             serious injuries, incurred past and future medical expenses, past and future travel expenses, past

             and future pain and suffering, past and future loss of enjoyment of life, and permanent impairment.

             Plaintiff is further entitled to recover any and all other general damages proximately caused by

             Defendant’s negligence.




                                                            Page 4 of 7


Copy from re:SearchGA
                        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 7 of 21




                                                                 17.

                    Plaintiff is also entitled to recover any other necessary expenses against Defendants

             resulting from the negligence of the Defendant.

                                                                 18.

                    The sole and proximate cause of the accident was the negligence of the Defendant, unmixed

             with any negligence on the part of the Plaintiff.

                                                                 19.

                    As a result of Defendant’s negligence, Plaintiff states her intention to seek all special,

             compensatory, general, incidental, consequential, economic, and other damages permissible under

             the laws of the State of Georgia, including but not limited to:

                a. Personal injuries

                b. Pain and suffering

                c. Mental anguish, fright, shock, and terror;

                d. Future lost wages and earning capacity; and

                e. Consequential damages to be proven at trial.

                                                                 20.

                                    ATTORNEY’S FEES UNDER O.C.G.A. § 13-6-11

                                                                 21.

                    Plaintiff re-alleges and incorporates herein by reference paragraphs 1 through 19 as if fully

             set forth herein, and states as follows:

                                                                 22.

                    Defendant has been, inter alia, stubbornly litigious, acted in bad faith, and has put Plaintiff

             to unnecessary trouble and expense.


                                                         Page 5 of 7


Copy from re:SearchGA
                        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 8 of 21




                                                                23.

                    Plaintiff is entitled to recover from Defendant expenses of litigation, including reasonable

             attorney’s fees, pursuant to O.C.G.A. § 13-6-11, in an amount to be proven at trial.

                                                       TRIAL BY JURY

                                                                24.

                    Plaintiff demands a trial by jury of twelve (12) for all issues so triable.

                                                   PRAYER FOR RELIEF

             WHEREFORE, Plaintiff prays as follows:
                    (a) That process issue and Defendant be served as provided by law;

                    (b) That Plaintiff have judgment against Defendant in an amount to be determined by the

                          enlightened conscience of a jury at trial for past, present, and future pain and suffering,

                          past and future emotional distress and mental anguish, and past and future loss of

                          enjoyment of life;

                    (c) That Plaintiff have judgment against Defendant in an amount to be determined at trial

                          for past and future medical expenses and for the impairment and disfigurement of

                          Plaintiff’s body;

                    (d) That all costs and attorney’s fees be taxed against Defendant; and

                    (e) That Plaintiff has such other and further relief as this Court deems just, equitable and

                          proper.




                                                           Page 6 of 7


Copy from re:SearchGA
                        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 9 of 21




                    Respectfully submitted this 9th day of April, 2021.

                                                                 W. CALVIN SMITH, II, P.C.

                                                                  /s/ Winston Kim
                                                                 W. Calvin Smith II, Esq.
                                                                 Georgia Bar No. 664431
                                                                 J. Winston Kim, Esq.
                                                                 Georgia Bar No. 152140
                                                                 Attorneys for Plaintiff


             3560 Lenox Road NE, Suite 3020
             Atlanta, Georgia 30326
             Phone: 404-842-0999
             Fax: 404-842-1498
             Email: jwkim@calvinsmithlaw.com




                                                        Page 7 of 7


Copy from re:SearchGA
                                                                            State Court of Fulton County
       Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 10 of 21                       **E-FILED**
                                                                                             21EV002168
                                                                                      4/28/2021 3:23 PM
                                                                             Christopher G. Scott, Clerk
                                                                                            Civil Division
                        IN THE STATE COURT OF FULTON COUNTY

                                    STATE OF GEORGIA

  BONITA RACHELL,

       Plaintiff,                                 Civil Action
                                                  File No.:      21EV002168

  v.

  DOLLAR TREE STORES, INC.,

       Defendant.

   DEFENDANT DOLLAR TREE STORES, INC.’S AFFIRMATIVE DEFENSES
            AND ANSWER TO PLAINTIFF’S COMPLAINT

       COMES NOW, Dollar Tree Stores, Inc., named Defendant in the above styled

action, and files the following Defenses and Answer to Plaintiff’s Complaint and shows the

Court as follows:

                                     FIRST DEFENSE

       The Complaint fails to set forth a claim against this Defendant upon which relief can

be granted.

                                   SECOND DEFENSE

       For a Second Defense, the Defendant answers the numbered paragraphs of the

Complaint as follows:

                            JURISDICTION AND VENUE

                                             1.

       Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 1 of the Complaint, and therefore cannot

admit or deny same.
      Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 11 of 21




                                            2.

      Defendant denies the allegations contained in Paragraph 2 of the Complaint.

                                            3.

      Defendant denies the allegations contained in Paragraph 3 of the Complaint.

                               STATEMENT OF FACTS

                                            4.

      Defendant realleges the foregoing paragraphs as if full restated herein.

                                            5.

      Defendant admits the allegations contained in Paragraph 5 of the Complaint.

                                            6.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 5 of the Complaint, and therefore cannot

admit or deny same.

                                            7.

      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 8 of the Complaint, and therefore cannot

admit or deny same.

                                            8.

      Defendant denies the allegations contained in Paragraph 8 of the Complaint.

                                            9.

      Defendant denies the allegations contained in Paragraph 9 of the Complaint.

                                           10.

      Defendant denies the allegations contained in Paragraph 10 of the Complaint.

                                            11.


                                           -2-
Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 12 of 21




Defendant denies the allegations contained in Paragraph 11 of the Complaint.

                                      12.

Defendant denies the allegations contained in Paragraph 12 of the Complaint.

                                 DAMAGES

                                      13.

Defendant restates the foregoing responses as if fully restated herein.

                                      14.

Defendant denies the allegations contained in Paragraph 14 of the Complaint.

                                      15.

Defendant denies the allegations contained in Paragraph 15 of the Complaint.

                                      16.

Defendant denies the allegations contained in Paragraph 16 of the Complaint.

                                      17.

Defendant denies the allegations contained in Paragraph 17 of the Complaint.

                                      18.

Defendant denies the allegations contained in Paragraph 18 of the Complaint.

                                      19.

Defendant denies the allegations contained in Paragraph 19 of the Complaint.

            ATTORNEY’S FEES UNDER O.C.G.A. §13-6-11

                                      21.

Defendant realleges the foregoing responses as if fully restated herein.

                                      22.

Defendant denies the allegations contained in Paragraph 22 of the Complaint.

                                      23.


                                     -3-
       Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 13 of 21




       Defendant denies the allegations contained in Paragraph 23 of the Complaint.

                                     TRIAL BY JURY

                                              24.

       Paragraph 24 of Plaintiff’s Complaint does not require a response.

                                              25.

       Defendant denies all the allegations contained in the WHEREFORE paragraph

including subparagraphs (a) through (e).

                                              26.

       Any allegation of the Complaint not admitted, denied or otherwise responded to

above is hereby denied.

                                      THIRD DEFENSE

       Defendant is not liable to Plaintiff because Defendant breached no duty owed to

Plaintiff in regard to the occurrence giving rise to this Complaint.

                                    FOURTH DEFENSE

       Defendant shows that the alleged damages of Plaintiff, if any, were caused by the

contributory and comparative negligence of Plaintiff.

                                      FIFTH DEFENSE

       Plaintiff, by the exercise of ordinary care, could have avoided the consequences of

any act or failure to act of Defendant.

                                      SIXTH DEFENSE

       Defendant is not liable to Plaintiff because the negligence of Plaintiff equaled or

preponderated over any acts or omissions of Defendant in producing or in bringing about

the occurrence complained of, but Defendant denies that any act of Defendant produced,




                                             -4-
       Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 14 of 21




brought about, caused, or contributed to in any manner whatsoever the occurrence

complained of in the Complaint.

                                    SEVENTH DEFENSE

       Plaintiff’s injuries, if any, were caused by an unforeseeable intervening third party

tortfeasor and/or the acts and failure to act of persons or entities other than Defendant.

                                     EIGHTH DEFENSE

       The Complaint should be dismissed for lack of jurisdiction over the subject matter,

lack of jurisdiction over the person of this Defendant, improper venue, and insufficiency of

process and service of process as to this Defendant.

                                      NINTH DEFENSE

       In the event that any benefits have been paid by or on behalf of Defendant,

Defendant is entitled to a set off against any verdict for the amount of benefits paid. See,

Orndorff v. Brown, 197 Ga. App. 591 (1990).

       WHEREFORE, having fully answered, Defendant prays that the Complaint be

dismissed with costs of this action cast against the Plaintiff.




                                              -5-
     Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 15 of 21




     This 28th day of April, 2021.

                                     Goodman McGuffey LLP
                                     Attorneys for Dollar Tree Stores, Inc.


                          By:        _/s/James T. Hankins____
                                     James T. Hankins, III
                                     GA State Bar No.: 188771
                                     jhankins@GM-LLP.com
                                     Samantha M. Mullis
                                     GA State Bar No.: 365592
                                     smullis@gm-llp.com
                                     3340 Peachtree Road NE, Suite 2100
                                     Atlanta, GA 30326-1084
                                     (404) 264-1500 Phone
                                     (404) 264-1737 Fax


DEFENDANT DEMANDS
TRIAL BY JURY OF TWELVE




                                             -6-
       Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 16 of 21




                       IN THE STATE COURT OF FULTON COUNTY

                                       STATE OF GEORGIA

  BONITA RACHELL,

       Plaintiff,                                 Civil Action
                                                  File No.:      21EV002168

  v.

  DOLLAR TREE STORES, INC.,

       Defendant.

                               CERTIFICATE OF SERVICE

       This is to certify that I have this day served all counsel and parties of record with a

copy of Defendant Dollar Tree Stores, Inc’s Affirmative Defenses and Answer

to Plaintiff’s Complaint by statutory electronic service pursuant to O.C.G.A. § 9-11-5(b)

or by depositing a copy of same in the United States Mail, postage prepaid, as follows:

                                 W. Calvin Smith, II, Esq.
                                 W. Calvin Smith, II, P.C.
                               3560 Lenox Road, Suite 3020
                                    Atlanta, GA 30326

                                  J. Winston Kim, Esq.
                                 W. Calvin Smith, II, P.C.
                               3560 Lenox Road, Suite 3020
                                   Atlanta, GA 30326


       This 28th day of April, 2021.




                            By:    _/s/ James T. Hankins, III___________
                                   James T. Hankins, III
                                   GA State Bar No.: 188771
                                   jhankins@GM-LLP.com
                                   Goodman McGuffey LLP


                                            -7-
Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 17 of 21




                       3340 Peachtree Road NE, Suite 2100
                       Atlanta, GA 30326-1084
                       (404) 264-1500 Phone
                       (404) 264-1737 Fax




                              -8-
                                                                              State Court of Fulton County
        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 18 of 21                        **E-FILED**
                                                                                               21EV002168
                                                                                        4/28/2021 3:23 PM
                                                                               Christopher G. Scott, Clerk
                                                                                              Civil Division
                          IN THE STATE COURT OF FULTON COUNTY

                                   STATE OF GEORGIA

BONITA RACHELL,

     Plaintiff,                                   Civil Action
                                                  File No.:      21EV002168

v.

DOLLAR TREE STORES, INC.,

     Defendant.

                  ACKNOWLEDGEMENT OF SERVICE OF PROCESS

        COMES NOW, DOLLAR TREE STORES, INC., by and through undersigned

counsel, and hereby acknowledges receipt and service of Plaintiff’s Complaint, which was

filed on April 9, 2021.

        Defendant DOLLAR TREE STORES, INC. waives its right to be served personally

with the aforementioned documents and waives all defenses as to insufficiency of process

and service of process.

        Defendant DOLLAR TREE STORES, INC. expressly reserves all other legal

defenses, including but not limited to, the jurisdiction or venue of this Court, and will file

its answers on or before sixty (60) days from the date of this Acknowledgement pursuant

to O.C.G.A. § 9-11-4(d)(5).
Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 19 of 21




This 28th day of April, 2021.



                                Goodman McGuffey LLP
                                Attorneys for Dollar Tree Stores, Inc.


                      By:       _/s/James T. Hankins, III________
                                JAMES T. HANKINS, III
                                GA State Bar No. 188771
                                jhankins@GM-LLP.com
                                SAMANTHA M. MULLIS
                                GA State Bar No. 365592
                                smullis@gm-llp.com
                                3340 Peachtree Road NE, Suite 2100
                                Atlanta, GA 30326-1084
                                (404) 264-1500 Phone
                                (404) 264-1737 Fax




                                        -2-
        Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 20 of 21




                       IN THE STATE COURT OF FULTON COUNTY

                                    STATE OF GEORGIA

BONITA RACHELL,

     Plaintiff,                                   Civil Action
                                                  File No.:      21EV002168

v.

DOLLAR TREE STORES, INC.,

     Defendant.


                               CERTIFICATE OF SERVICE

        This is to certify that I have this day served the opposing party or counsel for the

opposing party in the foregoing matter with a copy of this Acknowledgement of

Service of Process of Dollar Tree Stores, Inc. by statutory electronic service

pursuant to O.C.G.A. § 9-11-5(b) or by depositing a copy of same in the United States Mail,

postage prepaid, as follows:

                                   W. Calvin Smith, II, Esq.
                                   W. Calvin Smith, II, P.C.
                                 3560 Lenox Road, Suite 3020
                                      Atlanta, GA 30326

                                    J. Winston Kim, Esq.
                                   W. Calvin Smith, II, P.C.
                                 3560 Lenox Road, Suite 3020
                                     Atlanta, GA 30326


        This 28th day of April, 2021.




                                            -3-
Case 1:21-cv-01769-VMC Document 1-1 Filed 04/29/21 Page 21 of 21




                 BY:   _/S/JAMES T. HANKINS, III_____________
                       JAMES T. HANKINS, III
                       GA State Bar No. 188771
                       jhankins@GM-LLP.com
                       Goodman McGuffey LLP
                       3340 Peachtree Road NE, Suite 2100
                       Atlanta, GA 30326-1084
                       (404) 264-1500 Phone
                       (404) 264-1737 Fax




                              -4-
